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                              THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE


                                                               )
  ACADIA PHARMACEUTICALS INC.,                                 )
                                                               )
                                     Plaintiff,                )
                                                               )
                                v.                             )
                                                               )
  AUROBINDO PHARMA LIMITED and                                 )     C.A. No. 1:20-cv-00985-GBW
  AUROBINDO PHARMA USA, INC., et                               )
  al.                                                          )      (Consolidated)
                                                               )
                                     Defendants.               )
                                                               )
                                                               )
                                                               )

                                 DECLARATION OF BRENT BATZER, ESQ.

I, Brent A. Batzer, declare as follows:

        1.         I am a partner with the firm of Upadhye Tang LLP and am counsel of record for defendants

MSN Laboratories Pvt. Ltd. and MSN Pharmaceuticals, Inc. (collectively, “MSN”). I have personal

knowledge of the facts set forth in this declaration and, if called as a witness, could and would competently

testify thereto.

        2.         Exhibit 1 is a full-sized diagram of the patent prosecution timeline as described in

MSN’s opening brief filed concurrently.

        3.         Exhibit 2 is a true and correct copy of US Patent No. 7,846,442.

        4.         Exhibit 3 is a true and correct copy of Dennis Crouch, Patent Term Adjustment Statistics,

Patently-O (Nov. 20, 2016), available at https://patentlyo.com/patent/2016/11/patent-adjustment-

statistics.html (last visited May 3, 2023).

        5.         Exhibit 4 is an index table of the exhibits for the Joint Statement of Undisputed Facts

(“JSUF”) showing each JSUF exhibit’s Bates number range and a brief description thereof.
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I declare under penalty of perjury that the foregoing is true and correct.

Executed on this 12th day of May, 2023.

                                              /s/ Brent A Batzer

                                              Brent A. Batzer
                                              Upadhye Tang LLP
                                              109 Symonds Drive #174
                                              Hinsdale, IL 60522-0174
